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Law y Offices is Michael E. Road
A Professional Corporation:
1202 Lexingt

  
 
  
  
   
   
  
 
  
  
 
  
  
  
 
  

 

California State Bar No, 116126
Law Offices of Michael E. Reznick
A Professional Corporation
283 Ocho Rios Way “

Ouk Park, Catifornia 91397

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Homey for Creditor and liiterested Pasty
RICKEY SCHROEDER, as '‘Co-Trustee of
FHE LEGAL ADVOCACY COMMITTEE
FOR ARMS CREDITORS WITH ss
INTEGRITY TRUST ne

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ASSOCIATION OF AMERICA,

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Co Trustee of THE i LEG: yz

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DATED: Febrmary 23,

 

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Law Offices of arenes VE. eR: A Protest

 

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via. NEF and hyperlink to the document. On + Pabrlary 49, 2024, I checked

bankrupity case or adversary proceeding-and determined that | the following person( 4
Mall Notice List to-receive NEF coniedecn at the email addressies) ich ‘belt

February 22,2021 Michael E. Rezniok_
Date ~ Type Name

 
